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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

UNITED STATES,

        -v-                                                           No. 16 CR 397-LTS

HAROLD HILL,

                 Defendant.

-------------------------------------------------------x

                                                     ORDER

                 The Court has received the attached letter from Mr. Hill’s mother, requesting Mr.

Hill’s release from custody. The Court does not entertain applications from non-lawyers on

behalf of parties to matters that are before the Court. The application is therefore denied without

prejudice to any application that Mr. Hill or his counsel may decide to make. Chambers will

mail copies of this order to Mr. Hill and Ms. Hill.


        SO ORDERED.

Dated: New York, New York
       June 16, 2020
                                                                      __/s/ Laura Taylor Swain_______
                                                                      LAURA TAYLOR SWAIN
                                                                      United States District Judge

Copies mailed to:
Harold Hill
# 91134-054
FCI Terre Haute
Federal Correctional Institution
P.O. Box 33
Terre Haute, IN 47808

Renee Hill
232 Mount Baldy Drive
Parkton, NC 28371



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